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                              UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF MAINE


In re:
                                                  Chapter 13
Robert Joseph Ventimiglia                         Case No. 21-10060
& Angelique Mari Ventimiglia,

                           Debtors



                        ORDER REGARDING MOTION TO DISMISS


         On July 7, 2021, the Court conducted a hearing on the Trustee’s Motion to Dismiss [Dkt.

No. 21] (the “Motion”) and continued the Motion for further hearing on August 12, 2021. The

Motion centers in part on the Trustee’s report that the Debtors have failed to comply with their

obligation to appear and be examined at a meeting of creditors.

         During the hearing, the Court suggested that the meeting of creditors should either be

continued or the time for calling the meeting under Fed. R. Bankr. P. 2003(a) should and could

be enlarged under Fed. R. Bankr. P. 9006(b)(1). The latter suggestion was in error. The window

prescribed for calling the meeting of creditors under Rule 2003(a) can neither be enlarged nor

reduced. See Fed. R. Bankr. P. 9006(b)(2), (c)(2). That said, there is nothing on the docket that

indicates that the meeting of creditors cannot be continued. The following chronology illustrates

the point: On March 15, 2021, the Court issued a notice that the meeting of creditors would be

held on April 29, 2021. [Dkt. No. 5.] Then, on April 30, 2021, the trustee made an entry on the

docket indicating that the meeting had been continued to May 10, 2021. On May 10, 2021, the

trustee made multiple docket entries regarding the meeting of creditors. First, he indicated that

the Debtors had appeared for the meeting, and that the meeting had been held and concluded.

Second, he indicated that the meeting had been continued to June 4, 2021. Third, a corrective
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entry suggested that the first entry (meeting held and concluded) had been docketed in error.

Later, on June 4, 2021, the trustee made a docket entry indicating that the meeting of creditors

had been continued to June 11, 2021. And, finally, on June 11, 2021, the trustee made the

following docket entry: “Meeting of Creditors Not Held. Debtor absent. Joint debtor absent.”

       Because the docket does not indicate that the meeting of creditors was, in fact, concluded,

the trustee can continue it. The Court hereby orders the trustee to schedule a continued meeting

of creditors prior to the continued hearing on the Motion. If the Debtors do not attend the

continued meeting of creditors or provide legible identification documents to the Trustee prior to

the continued meeting, and if the Trustee files a notice on the docket to that effect, this case will

likely be dismissed without further notice or opportunity for hearing.



Dated: July 8, 2021
                                               Michael A. Fagone
                                               United States Bankruptcy Judge
                                               District of Maine




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